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(Post. 4/4/12)



                                  UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF ARKANSAS

                                                           NOTICE

                 United States of America


                            v.                                                   Case No.: 4:20CR00288-05 DPM



                     Renea Goddard


TYPE OF CASE:
                                    CIVIL                  X CRIMINAL

 X TAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth below:

PLACE                                                                     ROOM NO.
Richard Sheppard Arnold United States Courthouse                          1D
600 W Capitol Avenue                                                      DATE AND TIME
Little Rock, AR 72201                                                     2/25/2021, 10:00 a.m.
TYPE OF PROCEEDING

PLEA AND ARRAIGNMENT ON the Superseding Indictment before the Honorable Beth Deere, U.S. Magistrate
Judge.

Rule 10 (b) of the Federal Rules of Criminal Procedure permits a defendant charged by indictment or misdemeanor information to waive
appearance at arraignment with the advanced approval of the Court. A completed waiver form must be filed with the Clerk's office
seventy-two (72) hours prior to the scheduled arraignment date. Copies of the Waiver of Appearance for Arraignment form should be
submitted directly to the presiding Magistrate Judge, U.S. Attorney's Office and the U.S. Probation Office. This form is available on
the Court's web site at www.are.uscourts.gov under "Information, Court Information, Court Forms, Criminal Forms, Waiver of
Appearance for Arraignment and Entry of Plea of Not Guilty (purs. to F.R.Cr.P. 10 and 43.)"
NOTE: Approval will generally be restricted to Superseding Indictments and extenuating circumstances.


      TAKE NOTICE that a proceeding in this case has been continued as indicated below:

PLACE                            DATE AND TIME PREVIOUSLY                 CONTINUED TO DATE
                                 SCHEDULED                                AND TIME



                                                                          JAMES W. McCORMACK, CLERK
                                                                          U.S. MAGISTRATE JUDGE OR CLERK OF COURT

                                                                          F. Dunn
                                                                          (BY) DEPUTY CLERK
